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                        EXHIBIT 51
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                                                                                                      4      51
 ■ JI.
 w,,.-,tp,.;,,._...,




                        Nous sommes la pour vous aider
 I.Cr.~,,.,.,.._..,;,



  M!SISTERH
l>H L\ JUSTICE




                                         Attestation de temoin
                        (Articles 200   a 203 du code de procedure civile, article 441-7 du code penal)

 Votre identite :


D Madame                                D Monsieur
Votre nom de famille (nom de naissance) : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Votre nom d'usage (exemple: nom d'epoux I d'epouse) : _ _ _ _ _ _ _ _ _ _ _ _ _ __
Vos prenoms: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Vos date et Lieu de naissance: 1__ 1__ 1__ 1__ 1__ 1__ 1__ 1___ 1
a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Votre profession: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Votre adresse: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Complement d'adresse: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Code postal 1__ 1__ 1__1__1 __ 1 Commune: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Pays: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Lien de parente, d'alliance, de subordination, de collaboration ou de communaute d'interets avec
Les parties:  Oui D          non D
Si oui, precisez Lequel: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Sachant que L'attestation sera utilisee en justice et connaissance prise des dispositions de L'article
441-7 du code penal reprimant L'etablissement d'attestation faisant etat de faits materiellement
inexacts ci-apres rappeles :
« Est puni d'un an d'emprisonnement et de 15000 euros d'amende le fait d'etablir une
attestation ou un certificat faisant etat de faits materiellement inexacts ».
(cette phrase doit etre ecrite, ci-dessous, entierement de votre main) :




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lndiquez ci-dessous les faits auxquels vous avez assiste ou que vous avez constates
personnellement :




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 Piece ajoindre:


• Un original ou une photocopie d 'un document officiel justifiant de votre identite et
comportant votre signature.


ATTESTATION SUR L'HONNEUR
Je soussigne(e) (prenom, nom): _________________________
certifie sur l'honneur que Les renseignements portes sur ce formulaire sont exacts.

Fait a : _________________ ,le 1__ 1_ _1 __ 1_ _1 __ 1__ 1__ 1_ _1

Signature




            La Loi n°78-17 du 6 janvier 1978 relative aux fichiers nominatifs garantit un droit d'acces et
               de rectification des donnees aupres des organismes destinataires de ce formulaire.




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